Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.127 Filed 08/10/16 Page 1 of 37




                                                   EXHIBIT 10
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.128 Filed 08/10/16 Page 2 of 37




                                                                                                    Brian D. Wassom
HONIGMAN
                                                                                                       (248) 566-8490
Honigman Miller Schwartz and Cohn LLP                                                             Fax: (248) 566-8491
Attorneys and Counselors                                                                         bdw@honigman.com




                                                     August 19,2013

       Via Certified Mail To:

       Rove Concepts
       2318 Oak Street
       Vancouver, BC V6H 4J1
       Canada

       Via E-Mail To:

       info@roveconcepts.com

       Re: Infringement of Herman Miller's EAMES® Trademark and Trade Dresses

       To the Person of Highest Authority:

              Our firm represents Herman Miller, Inc. ("Herman Miller"). Since the 1940s and until his
       death, Charles Eames designed furniture for Herman Miller. After years of selling furniture
       designed by Charles Eames, Herman Miller registered EAMES as a trademark (see Exhibit 1,
       Registration No. 1,187,673), and that registration is now incontestable. Herman Miller also is
       the owner of the rights of publicity to the name and likeness of Charles Eames for use in
       connection with furniture. (See Exhibit 2, California Registration 1995-018.)

              Further, because of Herman Miller's decades-long continuous production of the
       EAMES® Lounge Chair and Ottoman, the public has come to associate the configuration of the
       EAMES® Lounge Chair and Ottoman with Herman Miller and only Herman Miller. In other
       words, Herman Miller has acquired trade dress rights in the configuration of the EAMES®
       Lounge Chair and Ottoman. Indeed, the United States Patent and Trademark Office ("PTO") has
       recognized such; Herman Miller has registered the configuration of the EAMES® Lounge Chair
       as a trademark and that registration is now incontestable (see Exhibit 3, Registration No.
       2,716,843).

               Additionally, the public associates the design of the EAMES® Aluminum Group™ and
       EAMES® Soft Pad™ furniture with Herman Miller and only Herman Miller (see Exhibit 4,
       Herman Miller Brochure). Herman Miller also has registered the design of the frame of those
       furniture pieces as Herman Miller's trademark and that registration is incontestable (see Exhibit
       5; Registration No. 3,105,591). All variations of the EAMES® Aluminum Group™ and
       EAMES® Soft Pad™ furniture operate as Herman Miller's trade dress.

               You are currently advertising for sale several knockoff items that infringe Herman
       Miller's EAMES® Lounge Chair and Ottoman and EAMES® Aluminum Group™ and Soft
       Pad™ furniture trade dresses. Specifically, you offer for sale and sell knockoffs that use these
       trade dresses. (See Exhibit 6; Rove Concepts website print-offs). As the same examples

                             39400 Woodward Ave. Ste. 101, Bloomfield Hills MI 48304-5151
                                    Detroit • Lansing • Oakland County • Ann Arbor • Kalamazoo
       13003019.1
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.129 Filed 08/10/16 Page 3 of 37




HONIGMAN
Rove Concepts
August 19,2013


      demonstrate, you are also making unauthorized commercial use of the "Eames," "Charles
      Eames," and "Ray Eames" names.

              As your own YouTube video promotion acknowledges, "these furniture designs ... have
      achieved an iconic status, easily recognizable by ... furniture admirers all around the world," and
      your products are "reproductions" of those designs.1 The public associates these iconic designs,
      however, with Herman Miller, and only Herman Miller. Your unauthorized uses of the "Eames,"
      "Charles Eames," and "Ray Eames" names, the EAMES® trademark and Herman Miller's trade
      dresses violate federal and state law. Specifically, your use of Herman Miller's trademark and
      trade dresses violates 15 U.S.C. §1114 and §1125 because consumers are likely to mistakenly
      believe that you are affiliated, connected, or associated with Herman Miller, and that Herman
      Miller has originated, sponsored, or otherwise approved of your knockoff furniture.
      Consequently, Herman Miller demands that you immediately:

           1) cease and desist all use of the names "Eames," "Charles Eames," and "Ray Eames," the
              use of the term "Eames" as a metatag or menu item, and any and all other attempts to
              palm-off the good will Herman Miller has built up in the EAMES® trademark;

           2) cease and desist advertising, depicting, offering for sale, and selling knock offs of the
              EAMES® Lounge Chair and Ottoman, which includes the furniture depicted in Exhibit
                 6;

           3) cease and desist advertising, depicting, offering for sale, and selling knock offs of the
              EAMES® Aluminum Group™ and EAMES® Soft Pad™ furniture, which includes the
              furniture depicted in Exhibit 6;

           4) transport all existing inventory of the knockoff furniture depicted in Exhibit 6 to the
              undersigned attorney for immediate destruction;

           5) destroy any specialized equipment or molds used to manufacture the knockoff furniture
              depicted in Exhibit 6;

           6) disclose in writing to the undersigned attorney all contact information for the vendors)
              of the knockoff furniture identified in Exhibit 6, which includes but is not limited to the
              full corporate name, corporate address, factory address, telephone numbers, fax numbers,
              e-mail addresses, and the names and business addresses of all the principles of the
              vendor(s);

              7) provide to the undersigned attorney in writing an accounting of all profit that you have
                 garnered from the sale of the knockoff furniture identified in Exhibit 6; and



      1 See   Rove Concepts Intro, <http://www.youtube.com/watch?v=s_Aj8XFZSCw#at=12>

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Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.130 Filed 08/10/16 Page 4 of 37




 HONIGMAN
Rove Concepts
August 19, 2013


           8) verify in writing that you will no longer infringe Herman Miller's EAMES® trademark
              or Herman Miller's EAMES® Lounge Chair and Ottoman, Aluminum Group™ and Soft
              Pad™ trade dresses.

      Herman Miller will not consider this matter closed until you comply with the above-listed
      demands. Please let us have your response within 10 days of the date of the letter.

                                                              Regards,

                                                              HONIGMAN MILLER SCHWARTZ AND COHN LLP




                                                              Brian D. Wassom

      Enclosures
      cc: Herman Miller, Inc.




                           39400 Woodward Ave. Ste. 101, Bloomfield Hills MI 48304-5151
                                 Detroit • Lansing • Oakland County • Ann Arbor • Kalamazoo
      13003019.1
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.131 Filed 08/10/16 Page 5 of 37




                           Exhibit 1
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.132 Filed 08/10/16 Page 6 of 37




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        Int. CL: 20
        Prior U^. GLs 32
                                                                               Reg. No. 1487,673
        United States Patent and Trademark Office •                              gggbtgediMuaaidaa

                                               TRADEMARK


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        Zedaad* Bfieb. 49464                            Fbat tsa 1991; {a mmmerco 199L
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Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.133 Filed 08/10/16 Page 7 of 37




                            Exhibit 2
                          Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.134 Filed 08/10/16 Page 8 of 37




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      Special Filings     ||                                                                         Successor-in-interest
 Special Filings Main Page
 Successor-in-interest           The information displayed here is updated at the beginning of the month. It is not a complete or certified record of
 Search                          the Claim as Successor-in-interest.

 Immigration Consultant
 • Qualifications and            Fees and instructions for requesting information relating to a successor-in-interest of record are included on the
   Check List                    Special Filings Records Order Form.
 • Bond Search
                                                                                                              New Search
 Forms & Fees
 Freguentlv Asked
                                 Search Results for:             Name:charles eames
 Questions
                                                                 Company:
 Business Resources
 California Codes
 Legislation                                                          Celebrity Name:                      Charles Eames
 Private Service                                                      File Number:                         1995-018
 Companies
                                                                      Filing status:                       acti \A2
 Technical Assistance
                                                                      File date:                           04/07/1995
 Contact Us
                                                                      Date of death:                       08/21/1978
 Site Search
                                                                      Transferred by:                      contract
                                                                      Name of Claimant:                    Herman Miller, Inc.
                                                                      Address of Claimant:                 855 E. Main Avenue, Post Office Box 302,
                                                                                                           Zeeland, Michigan 49464
                                                                      Percentage interest                  100%
                                                                      claimed:
                                                                      Above percentage                     limited rights described as follows: The
                                                                      claimed in:                          right to use the above-listed name and
                                                                                                           likenesses in connection with any and all
                                                                                                           furniture based on designs by Charles
                                                                                                           Eames and/or the Eames Office.



                                                                      Celebrity Name:                      Charles Eames
    Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.135 Filed 08/10/16 Page 9 of 37



                                        File Number:                            1998-032
                                        Filing status:                          active
                                        File date:                              08/26/1998
                                        Date of death:                          08/21/1978
                                        Transferred by:                         trust
                                        Name of Claimant:                       Lucia Eames
                                        Address of Claimant:                    1251 San Antonio Road, Petaluma,
                                                                                California 94952
                                        Percentage interest                     100%
                                        claimed:
                                        Above percentage                        limited rights described as follows: All
                                        claimed in:                             rights to use the above listed name, voice,
                                                                                signature, photograph, and likenesses,
                                                                                except in connection with furniture based
                                                                                on designs by Charles Eames.
                                        Claim basis:                            Child


                                                                                   New Search
L                    C o p y r i g h t •£, 2 G 0 ' J C a l i f o r n i a S e c r e t a r y o f S t a t e . Privacy Statement.
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.136 Filed 08/10/16 Page 10 of 37




                            Exhibit 3
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.137 Filed 08/10/16 Page 11 of 37




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              lot 0:20
              Prior US. Otu 2,13,22,25,32 and 50 .
                                                                              Reg. No. 2,716,843
              United States Patent and Trademark Office                         Rtatontd M*f 20^2009

                                             TRADEMARK
                                         PMNCaPAL REGISTER



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          •     PORAHON)                                  HON OF A CHAIR.
              SSS BAST MAIN AVENUB
              ZESLAND, MX 49464                            SBC2(F).
                FOR: FURNITURB, NAMELY, A CHAIR, IN
              CLASS 20(01CLS.2,0,22,2% SAND SQK            SER.Na 75410^55, FILED10-26-1991

               FIRST USB12>3M9Mi IN CQMMBRCB I24M95&      LINDA M. KIKQ^ EXAMININO ATFORNHY
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.138 Filed 08/10/16 Page 12 of 37




                            Exhibit 4
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.139 Filed 08/10/16 Page 13 of 37




              •-DHermanMiller          Earnest Soft Pad and Aluminum Group Chairs




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Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.140 Filed 08/10/16 Page 14 of 37




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                                                                  PROFILES IN COMFORT
                                                                   lb onsme seated comfort. Charies and Ray Eames
                                                                  suspended J continuous cieco o( $oat-back
                                                                  upholstery between liglilv/el^lit aluminum side ribs
                                                                  and stretched tho upholstorv taully around each end
                                                                  of the frame. V/hether upholstered in fabric, leather,
                                                                  vinyl, or an innovative mesh maleilat that allows ths
                                                                  chair to brealhe. the result is appropriate firmness
                                                                  with just the light nexihility.

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             TRAITS THAT ENDURE
             Mermarr Miller began making Charles and Ray
             Eameses' Aluminum Group chairs in 1958.
             Eleven years later, the Eameses extended the
             original design by adding plush, individually
             upholstered cushions. They named these
             the Soft Pad chairs, and Herman Miller has
             been making both versions ever since. Their              •"C-   fiVi   m*
             simple lines, innovative use of materials, and
             suspension comfort work together to keep
                                                                  I
             them in continuous demand.
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Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.141 Filed 08/10/16 Page 15 of 37




                 A STATEMENT OF EXCELLENCE
                 The slender, sophisticated Aluminum Group and its cushier cousin the Soft Pad
                 bear the distinctive stamp of Charles and Ray Eames—a graceful, unmistakable
                 appearance coupled with an uncanny ability to sit equally well in retro Interiors,,
                 elegant lobbies, or hip young companies. Never being ones to favor style over
                 substance, Charles and Ray gave both designs an innovative suspension for a
                 firm, flexible- "sitting pocket" that subtly conforms to the body's shape. Add
                 executive, management, side, and lounge models, and there's everything you
                 need for a statement of timeless design excellence.




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Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.142 Filed 08/10/16 Page 16 of 37




                                                                                                                 COMPIEMEHTAIIY SELECTIONS
                                                                                                                 SInca tlicy evolved from a common design idea. Aluminum Group
                                                                                                                 ind Soft Pad chairs havo a ilranj family rcscmbiancu. They also
     1                                                                                                           sluuo idated fealutus.



                                                     WmM                                                         F.xecullva and manascment modeli hava seat-height adjustmenl-
                                                                                                                 and lilt-swivel and aic available •.vlth castors or glides.

                                                                                                   jb
                                                                                                                                           Lounge chairs feature slides and ate
                                                                                                                                          availablo with tlil-swlvel or swivel and with'
                                                                                                                                           or without arms; matching ottomans are
                                                                                                                             -             also available.
                                                                                                                             •< >
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                                                     f(Sf                                                                     Ml           Arms, frames, and bases are brightly
                                                                                                                   * Al                    polished aluminum with clear utethane-


                                                                                                             •Jk
                                                                                                                                           coating.

                                                                                                                   Clmlrt anj viy tjmm     Cygnus"* mash material, available on all
                                                                                                                                           Aluminum Grouo models, combines strong
                                                                                                                                           yet supple support with         a translucency       that
                                                                                                                                           highlights- the chair's graceful profile;



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                   »-A                                 rf**                                             ]st
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                                                                                                                                           Soft Pad chair cushions are two-inch-thidc-
                                                                                                                                           urelhano foam unclosed with polyestor
                                                            ax
               \                                                                                                                           Tiber balling.

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                                           1 2 - Y E A R , 3 - 5 H I F T WARRAMTY
                                           like all Hcrmnn Miller products, Eamcs Aluminum Group and Soft Pad chairs are durable for long-term performanco
                                           and value. As a statement of our conlidcncc In their nualily, the Eamcs Aluminum Group and Soft Pad chairs are
                                           covered by the Herman Miller Warmnly—a siralghlforwaid promise that we stand behind that quality 100 percent;
                                           The iz-year, 3-5liiIt warranty covers all standard elements and includes labor on all warranty work.



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     plcme viiit us at vsvovJIcimaiiMilleMom or call (liool 1151 ii'j6.

     •J :oai Hcnnjn Miller. Inc. AicUmJ. Michigan Pilnied In U.S.A. on ictyclcti p.ipcr. O.USJiaa-9
     -.0 'DIKmun/iUItr jnd Ejntea JIC jinons iho icHiilcrcd ludfin.nkj of Herman Millet. Int.
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Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.143 Filed 08/10/16 Page 17 of 37




                            Exhibit 5
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.144 Filed 08/10/16 Page 18 of 37




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           Prior US. ClS4 2,13,22,25,32 and 50
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            Fmsr USB4*0'1938; INCOMMERCB64.1952.          SBR.Na 76^223, FILED MI-ZCOl

                                                         BMAN WHO.EXAMMNO ATTORNEY
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.145 Filed 08/10/16 Page 19 of 37




                            Exhibit 6
 Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.146 Filed 08/10/16 Page 20 of 37


8/7/13                                              Eames Lounge Chair | Reproduction] Replica | Row Concepts




    Eames Lounge Chair with Ottoman
   Inspired by Eames, Charles and Ray


    $1,595.00
                        7 Review{s)




   r
    Classic Leathers




    Waxy Leathers




    Vintage Leathers




              rm
    Veneer




          More colors




         Your Current Configuration
            Siena Black
            Rosewood Palisander


               Configuration in stock.




          How Rove Compares               Our Materials




wwyv.roveconcepts.conVstore/living-roonVchairs/eames-lounge-chair                                               1/4
Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.147 Filed 08/10/16 Page 21 of 37


8/7/13                                           Eames Lounge Chair | Reproduction| Replica | Rove Concepts




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                       How Rove Compares

                       We want you to learn a little about our business.




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 Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.148 Filed 08/10/16 Page 22 of 37


8/7/13                                            Eames Lounge Chair | Reproduction! Replica | Row Concepts



                      Materials

                      Find more information on our high quality materials.




                       Request a FREE sample

                      Get swatches to your door, fast and free!



    Related Articles
         A Piece of History: The Eames Lounge Chair and How It Defined an Era
         The Leather Files
         The Value of Comfortable Longevity
         How to Design a Stylish Nursery Your Baby can Grow Into
         Miles Davis, and a piece of modernist furniture - So What!

    Eames, Charles and Ray
    Charles Eames, an American architect and designer was greatly                                      \h     *
    influenced by the Finnish architect Eliel Saarinen, Eliel's son Eero
    (creator of the ... Read More
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         Specs

         Description

         Designer

         Dimensions

         Reviews (7)

         Shipping




         Specifications
         What makes the Rove Eames Lounge Chair premium reproduction so special?

         •     Upholstered in 100% full grain Aniline Leather imported from Italy. Over the years we
               have maintained excellent relationships with our supplier and have an inexhaustible
               supply of leather finishes/colors. All parts of the chair are made with the same leather
               grade including piping and buttons.
         •     Wooden Veneer is First and Seconds grade American Timber. FAS boards are certified
               to be only the best cuts from the log and produce the least amount of knots. These

www.rowconcepts.com/store/liung-roonVchairs/eames-lounge-chair                                                     3/4
 Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.149 Filed 08/10/16 Page 23 of 37


8/7/13                                               Eames Lounge Chair | Reproduction | Replica | Rove Concepts

               are sourced exclusively from USA, Canadian and Brazilian companies including Midwest
                Walnut Company®, Lehmonn Lumber® and Hartzell Hardwoods®.
                True to the original the veneer features 7 ply's of cross grained engineered wood and is
                Kiln dry stabilized to prevent any sort of warping or cracking.
                Wood is finished with a final application of Italian Lacquer. This protects the wood and
                gives it the most natural look possible, ensuring the color will not fade over time. A
                total of 4 coats are applied.
                PU-lnjected foam cushions are dacron wrapped. This results in a extremely
                comfortable chair with the highest level of durability.
                Rubber Shock Mount plating underneath the arm connects the back and base of the
                chair allowing for flex. The wrong shock mounts used will compromise the comfort of
                this design.
                Standard Herman Miller cast base and back braces comes in a high polished bright
                aluminum trim. Also customizable in the full Vitra aluminum base.
                Full original specifications and details are incorporated into our design, there simply is
                no discernable difference in the quality between the authentic chairs and our lounger.
                This item is not an original Charles & Ray Eames Lounge chair, nor is it manufactured by
                or affiliated with Herman Miller.



         Genuine Imported Leathers

         In order to distinguish Rove's line of genuine imported full leathers from generic
         leathers offered elsewhere that make similar claims of quality, we highly
         encourage you to request free swatches from each store and compare them side
         by side!

         We are confident you will see the difference our quality makes. Rove products are
         designed to last for years thus it is only fitting that great attention is owed to the
         material and craftsmanship of each piece.




vwvw.roveconcepts.conVstore/Iiving -roonVchairs/eames-lounge-chair                                                 4/4
 Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.150 Filed 08/10/16 Page 24 of 37
8/7/13                                 Eames Office Chair | Aluminum Group Management] EA119 LowBack| Rove Concepts




    Eames Aluminum Group Management
    Chair
   Inspired by Eames, Charles and Ray


    $595.00
    Write a review




    r
    Classic Leathers




    Waxy Leathers




    Vintage Leathers




          More colors




         Your Current Configuration
            Modena Black


               Item configuration is by custom order only.




          How Rove Compares               Our Materials




www.roveconcepts.conVstore/office/chairs/eames-inspired-low-back-executive-chair                                      1/4
 Case 1:16-cv-01000-RJJ-RSK
8/7/13
                                   ECF No. 1-10, PageID.151 Filed 08/10/16 Page 25 of 37
                     Eames Office Chair | Aluminum Group Management | EA119 Low Backj Rove Concepts




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                          How Rove Compares

                          We want you to learn a little about our business.




                          Materials

                          Find more information on our high quality materials.




                          Request a FREE sample

                          Get swatches to your door, fast and free!



 vwwv.roveconcepts.corrVstore/office/chairs/eames-inspired-low-back-executive-chair              2/4
 Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.152 Filed 08/10/16 Page 26 of 37
8/7/13                                 Eames Office Chair | Aluminum Group Management] EA119 Low Back] Rov« Concepts


    Related Articles
         The Leather Files
         Decorating Your Office

    Eames, Charles and Ray
    Charles Eames, an American architect and designer was greatly                                   m
    influenced by the Finnish architect Eliel Saarinen. Eliel's son Eero
    (creator of the ... Read More




         Specs

         Description

         Designer

         Dimensions

         Reviews (0)

         Shipping




         Specifications
         This reproduction was designed by Charles & Ray Eames in 1958. i he main materials of
         this designer office chair is Polished Aluminum and Leather.


         The Rove Concepts reproduction features;

         •      A low back with arms and an aluminum frame with suspended upholstery.
         •      A 5-star base, tilt-swivel mechanism and seat-height adjustment (regular or
                pneumatic).
         •      The new pneumatic height adjustment allows for easier height adjustment, adds 2
                additional inches to the top end of the height adjustment and the new tilt lock
                allows the seat angle to be secured in the neutral position. Available with casters
                (wheels) or glides
         •      Full grain aniline leather




         Genuine Imported Leathers

         In order to distinguish Rove's line of genuine imported full leathers from
         generic leathers offered elsewhere that make similar claims of quality, we highly
         encourage you to request free swatches from each store and compare them
         side by side!

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Case 1:16-cv-01000-RJJ-RSK
W7/13
                                  ECF No. 1-10, PageID.153 Filed 08/10/16 Page 27 of 37
                    Eames Office Chair | Aluminum Group Management | EA119 Low Back | Rove Concepts


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        are designed to last for years thus it is only fitting that great attention is owed to
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 Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.154 Filed 08/10/16 Page 28 of 37
8/7/13                                   Eatnes Office Chair | Soft Pad Management| EA217 Low Back| Rove Concepts




    Eames Soft Pad Management Chair
   Inspired by Eames, Charles and Ray


    $745.00
    Write a review




   r
    Classic Leathers




    Waxy Leathers




    Vintage Leathers




          More colors




         Your Current Configuration

            Modena Black


              Item configuration is by custom order only.




          How Rove Compares             Our Materials




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Case 1:16-cv-01000-RJJ-RSK
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                                 ECF No. 1-10, PageID.155 Filed 08/10/16 Page 29 of 37
                       Eames Office Chair | Soft Pad Management! EA217 Low Back] Rove Concepts




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                      How Rove Compares

                      We want you to learn a little about our business.




                      Materials

                      Find more information on our high quality materials.




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8/7/13                                  Eames Office Chair | Soft Pad Management! EA217 LowBack] Rove Concepts


                      Request a FREE sample

                      Get swatches to your door, fast and free!



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         Specs

         Description

         Designer

         Dimensions

         Reviews (0)

         Shipping




         Specifications
         This Eames Soft Pad Management Chair Reproduction Features:

         •     Full Grain Italian Leather Upholstery
         •     aluminum frame, base and armrests
         •     5-star base, tilt-swivel mechanism and seat-height adjustment
         •     Tubular steel column
         •     Popular design/modem classic, durable and extremely comfortable
         •     Thick padded leather cushions for ultimate comfort




         Genuine Imported Leathers

         In order to distinguish Rove's line of genuine imported full leathers from
         generic leathers offered elsewhere that make similar claims of quality, we highly
         encourage you to request free swatches from each store and compare them
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Case 1:16-cv-01000-RJJ-RSK ECF No. 1-10, PageID.157 Filed 08/10/16 Page 31 of 37
8/7/13                                   Eames Office Chair | Soft Pad Management| EA217 Low Back| Row Concepts

         the material and craftsmanship of each piece.




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 Case 1:16-cv-01000-RJJ-RSK      ECF No. 1-10, PageID.158 Filed 08/10/16 Page 32 of 37
                        Eames Office Chair | Soft Pad Executive| EA217 High Back) Rove Concepts
8/7/13




    Eames Soft Pad Executive Chair
   Inspired by Eames, Charles and Ray


    $745.00
    Write a review




    Classic Leathers




    Waxy Leathers




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          More colors




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8/7/13
                                ECF No. 1-10, PageID.159 Filed 08/10/16 Page 33 of 37
                       Eames Office Chair | Soft Pad Executive | EA217 HighBack] Ro\e Concepts




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                       Find more information on our high quality materials.




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         Specs

         Description

         Designer

         Dimensions

         Reviews (0)

         Shipping




         Specifications
         This Eames Soft Pad Executive Chair Reproduction Features;

         •     Full Grain Aniline Leather Upholstery
         •     aluminum frame, base and armrests
         •     5-star base, tilt-swivel mechanism and seat-height adjustment
         •     Tubular steel column
         •     Popular design/modern classic, durable and extremely comfortable
         •     Thick padded leather cushions for ultimate comfort
         •     High back version with choice of wheels or glides.
         •     Dimensions 24"W x 25"D x 35,,-42,,H




         Genuine Imported Leathers

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